        Case 1:25-cv-00766         Document 3-7       Filed 03/15/25      Page 1 of 3




                              Declaration of Molly Lauterback

1.    I am a Senior Staff Attorney in the Immigration Practice at Brooklyn Defender Services
      (“BDS”).

2.    BDS is a nonprofit legal services provider which represents detained clients in removal
      proceedings under the auspices of the New York Immigrant Family Unity Project
      (“NYFIUP”).

3.    Through NYFIUP, qualified indigent people who are detained by Immigration and
      Customs Enforcement (“ICE”) are entitled to free legal representation when they are
      facing deportation.
4.    I met with Mr.                          on February 27, 2025 over video. At that time,
      he was detained at the Moshannon Valley Processing Center. I assessed that he was
      eligible for our services.

5.    Mr.                       Notice to Appear (“NTA”), which I have reviewed, states that
      he is a citizen of Venezuela who entered the United States at or near Eagle Pass, Texas on
      December 15, 2023 and charges him as inadmissible under 8 U.S.C. § 1182(a)(6)(A)(i) as
      a noncitizen present in the United States without being admitted or paroled or who
      arrived in the United States at any time or place other than as designated by the Attorney
      General.

6.    On February 27, 2025, I entered my appearance as his attorney with the Elizabeth
      Immigration Court in New Jersey.

7.    On March 7, 2025, ICE filed a Form I-213 in Mr.                          case. The I-213
      states that he “has been identified as a Tren de Aragua gang associate.” ICE has not
      provided any information beyond that one sentence to support that allegation.

8.    Mr.                    has a pending application for asylum, which he timely filed on
      August 30, 2024, and the basis for which is his fear of harm and mistreatment from
      multiple criminal groups, including the Tren de Aragua gang.

9.    On March 7, 2025, Mr.                         wife informed our office that she was unable
      to add money into Mr.                        commissary account because it had been
      deactivated.
10.   That same day, I sent an email to ICE stating “As you know, Mr.                        has
      counsel and a pending removal proceeding before the Elizabeth Immigration Court and
      therefore cannot be transferred. Can you confirm that Mr.                      is not being
      transferred to a different facility?” In response, I received an email on Monday, March
      10, 2025 that the matter was being investigated.




                                               1
           Case 1:25-cv-00766       Document 3-7       Filed 03/15/25     Page 2 of 3




11.   On March 10, 2025, Mr.                        location in the ICE Detainee Locator site
      was changed to the El Valle Detention Facility in Texas.

12.   On March 10, 2025, I sent an email to the El Valle Detention Facility contacts asking for
      a video call with my client and attaching my Form G-28, Notice of Entry of Appearance
      as Attorney and Attorney ID Card. I received multiple bounce back auto-responses, but I
      did not receive any actual responses to my request for a call with my client.

13.   On March 12, 2025, I appeared for Mr.                         first master calendar hearing
      before the Immigration Court. Mr.                       was not produced.

14.   During the March 12 immigration hearing, the ICE attorney stated that she believed Mr.
                        was at El Valle and that he would be transferred again. When asked
      where he would be transferred, the ICE attorney stated that she did not know.

15.   I explained on the record that I had been unable to speak with my client since his transfer
      to El Valle and that ICE’s failure to allow for our communication was interfering with his
      due process rights.

16.   During the hearing, the ICE attorney did not mention anything about my client’s
      supposed association with the Tren de Aragua.

17.   The Immigration Judge reset the case for a master calendar hearing for March 26, 2025
      and instructed ICE to submit to the court a completed Form I-830, Notice to EOIR: Alien
      Address, which informs the Immigration Court of a noncitizen’s address and detention
      status.

18.   The Immigration Judge also instructed ICE to assist in facilitating calls between my
      client and me.

19.   I made several attempts to contact my client after ICE failed to produce him for his
      Master Calendar Hearing.

      a.    On March 13, 2025, I emailed the ICE attorney who had appeared in court. She did
            not respond. On March 14, 2025, I emailed her again and she responded saying “at
            this point you are ahead of what I am aware of.” When I asked her where my client
            would be transferred next, I did not receive a response.

      b.    On March 14, 2025, I emailed El Valle for the third time to speak to my client and
            finally received this response at 10:19 am EST: “Good morning, you client [] is no
            longer at EVDF.” When I asked where he was, I was told “We do not have that
            information.” After receiving that email, I forwarded it to multiple ICE deportation
            officers for whom I have contact information.

      c.    I did not hear back via email so, later in the day on March 14, 2025, I called
            Assistant Field Office Director Francis Kemp to ask where my client was. Mr. Kemp


                                                2
          Case 1:25-cv-00766        Document 3-7       Filed 03/15/25      Page 3 of 3




            instructed me to send him an email because he was not in his office and stated that
            my need to know my client’s whereabouts was not his problem.

 20.   At approximately 11:00 am EST on March 14, 2025, ICE filed via ECAS Form I-830,
       Notice to EOIR: Alien Address, showing that my client was detained at the El Valle
       Detention Center.

 21.   The afternoon of March 14, 2025, my client called me from a paid recorded call. After
       ICE told him he was being moved in preparation for a flight, he was returned to El Valle
       and called me. I understand ICE is saying they will put him on a flight Saturday, March
       15 or Sunday, March 16.

 22.   I emailed the El Valle Detention Facility at around 1:30pm on March 14, 2025 requesting
       a confidential call with my client. I received an email stating, “At the moment non-citizen
       has not arrived to their dorm, once he is available, we will try our best to connect.” Later
       that day, I again spoke to my client from El Valle when he called me from a paid recorded
       line. During the call he said he had no privacy. I was finally able to have confidential
       conversation with my client the evening of March 14.

 23.   Acting Assistant Field Office Director Joseph Pujol responded to my earlier email stating,
       “Your client remains detained at El Valle at this time.” When I asked where he was going
       to be transferred next, Officer Pujol stated, “Unfortunately he is not a NYC case so I have
       no further information.” Officer Pujol connected me to Deportation Officer Josh Belcher
       who emailed me and said, “I am monitoring his case, however, I am unable to provide
       reasoning for his transfer.” When I asked where my client would be transferred next, I did
       not receive a response.



I, Molly Lauterback, swear under penalty of perjury that the forgoing declaration is true and
correct to the best of my knowledge and recollection.




______________                                       03/14/2025

Name: Molly Lauterback




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